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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

In Re:                                          )          Chapter 11
                                                )
BCause Mining LLC, a Virginia limited liability )          Case No. 19-10562
company                                         )
            and                                 )
                                                )
BCause LLC, a Virginia limited liability        )          Case No. 19-10731
company                                         )
                                                )
                   Debtors.                     )          Honorable Janet S. Baer

                          NOTICE OF APPOINTMENT OF
                  OFFICIAL UNSECURED CREDITORS’ COMMITTEE

       The following parties, selected from unsecured creditors who are willing to serve, are
hereby appointed as the Official Unsecured Creditors’ Committee in these cases:

                      CREDITOR                               REPRESENTATIVE
 1.      Pro Window Inc.                            Wayne Pehrson*
         1604 Virginia Beach Blvd.
         VA Beach, VA 23454

 2.      Capitol Counsel LLC                        De’Ana H. Dow
         700 13th St., N.W., 2nd Floor
         Washington, DC 20005

 3.      Ciniva LLC                                 James Burns
         251 Granby Street
         Norfolk, VA 23510

*Interim Creditors’ Committee Chairman

                                                           RESPECTFULLY SUBMITTED,
                                                           PATRICK S. LAYNG
                                                           UNITED STATES TRUSTEE

DATE: April 24, 2019                                  By: /s/ Ha M. Nguyen
                                                          Ha M. Nguyen, Trial Attorney
                                                          OFFICE OF THE U.S. TRUSTEE
                                                          219 South Dearborn, Room 873
                                                          Chicago, IL 60604
                                                          (312) 886-3320

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                                   CERTIFICATE OF SERVICE

        I, Ha M. Nguyen, Trial Attorney, state that pursuant to Local Rule 9013-1(D) the above
NOTICE OF APPOINTMENT OF COMMITTEE OF UNSECURED CREDITORS was
filed on April 24, 2019, and served on all persons identified as Registrants on the service list below
through the Court’s Electronic Notice for Registrants, and, to be served on April 25, 2019 to all
other parties on the service list below via Electronic Mail.

                                               BY:      /s/ Ha M. Nguyen
                                                        Ha M. Nguyen, Trial Attorney



                                         SERVICE LIST

Registrants Served Through the Court’s Electronic Notice for Registrants:

Scott R. Clar                                  sclar@cranesimon.com
Jeffery C. Can                                 jdan@cranesimon.com
Virginia Electric and Power Company            Jason.torf@icemiller.com
Wesco Distribution, Inc.                       dagay@mcdonaldhopkins.com,
                                               scornell@mcdonaldhopkins.com


Parties Served via Electronic Mail:
                                                      wes.horsford@abacussolutions.com;
 Abacus Solutions, LLC                                Jonathan.wood@abacussolutions.com
 Amazon Web Services                                  arlemary@amazon.com
 BitGo, Inc.                                          mikecruz@bitgo.com
 Brian Sayler                                         Briansalyer1@gmail.com

 Capital Counsel, LLC                                 ddow@capitolcounsel.com
 Century Link - Broomfiled, CO                        billing@centurylink.com
 Century Link - Arvada, CO                            billing@centurylink.com
                                                      apurv@cmswebsiteservices.com;
 Ciniva, LLC                                          james@ciniva.com
 Crystal Clear Communications                         eresnick@crystalclearpr.com

                                                      alison.zizzo@mpopc.com;
                                                      betsy.woodruff@mpopc.com;
 Endurance Network Services, LLC                      blake.white@endurance-it.com
 FIS Systems Internationl LLC                         fisbilling@fisglobal.com
 Jones, Madden & Council PLC                          evie@jonesmaddencouncil.com
 Katten Muchin                                        gary.dewaal@kattenlaw.com


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LeClairRyan                                       Charles.Doleba@leclairryan.com
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Nasdaq                                            gary.dewaal@kattenlaw.com
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SoftVision Consulting LLC                         adam.bleifeld@softvision.com
                                                  manny.montejano@tradehelm.com;
Tradehelm, Inc.                                   ronnie.milojevic@tradehelm.com
United HealthCare (Contact through Paychex)
W-R2 Jefferson Owner VIII, LLC                    mmesa@r2.me
Alpha Craft Technologies, LLC                     markwomble@alphacrafttech.com
Amazon Web Services, Inc.                         arlemary@amazonc.om
Bay Technologies                                  mark@m3electric.com
BFPE International                                billm@bfpe.com; sflannery@bfpe.com
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                                                  branson@prowindow1.com;
Pro Window, Inc.                                  wayne@Prowindow1.com

Professional Heating & Cooling, Inc.              mhensley@phcva.com

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US Customs & Border Protection                    cfomedia@cbp.dhs.gov
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Zhouyang (Mason) Song                             mkirsner@eckertseamans.com




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